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     JANA CATHERINE BRODDIE
 6

 7

 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,           ) No. 1:12-CR-00040-LJO
                                         )
12
          Plaintiff,                     )
                                         ) STIPULATION AND ORDER TO
13                                       ) CONTINUE SURRENDER DATE
     v.                                  )
14                                       )
     JANA CATHERINE BRODDIE,             )
15                                       )
                                         )
16        Defendants.                    )
                                         )
17                                       )
                                         )
18                                       )
19              Defendant, JANA CATHERINE BRODDIE, through her
20   attorney ROBERT L. FORKNER, together with the United States of
21
     America through its undersigned counsel, KATHLEEN SERVATIUS,
22
     Assistant United States Attorney, hereby stipulate and request
23
     the following:
24
          1. That the Defendant’s surrender date presently set for
25
     January 18, 2014 be extended to January 21, 2014.
26
          2. Ms. Broddie was order to surrender on January 18, 2014,
27
     which is a Saturday.
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 1        3. The Bureau of Prisons designation information to Pretrial
 2   Services has noted Ms. Broddie’s surrender date to Friday,
 3   January 17, 2014 which is the same date Ms. Broddie has a court
 4
     ordered visitation with her oldest son from 1:00pm to 7:00pm.
 5
          4. Since the following Monday, January 20, 2014 is a federal
 6
     Holiday, January 21, 2014 is requested so that Ms. Broddie can
 7
     visit with her son.
 8
                IT IS SO STIPULATED.
 9

10
     Dated:     January 14, 2014              /s/ Robert L. Forkner
11                                            ROBERT L. FORKNER
                                              Attorney for Defendant
12
                                              Jana Broddie
13
     Dated:     January 14, 2014
14
                                       by: /s/ Kathleen Servatius
15
                                            Assistant United States
16                                          Attorney

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18
          GOOD CAUSE APPEARING, it is hereby ordered that the JANUARY

19
     17, 2014 Surrender Date be continued to January 21, 2014.

20
     IT IS SO ORDERED.
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       Dated:    January 14, 2014               /s/ Lawrence J. O’Neill
                                             UNITED STATES DISTRICT JUDGE
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